Case 2:21-mb-00376-MHB Document1 Filed 12/15/21 Page 1of1

AO 109 (Rev. 11/13) Warrant to Seize Property Subject to Forfeiture

 

United States District Court
for the
District of Arizona

Case No.

J \M

In the Matter of the Seizure of:
(Briefly describe the property to be seized)

)
)
)
The contents of CoinBase account, )
user ID 5930ab96a080fd9ff2dfbcc8 )

)

)

WARRANT TO SEIZE PROPERTY SUBJECT TO FORFEITURE

To: Any authorized law enforcement officer

An application by a federal law enforcement officer or an attorney for the government requests that
certain property located in the District of Arizona be seized as being subject to forfeiture to the United
States of America. The property is described as follows:

The contents of CoinBase account, user ID 5930ab96a080fd9ff2dfbcc8

I find that the affidavit(s) and any recorded testimony establish probable cause to seize the property.

74 youl
YOU ARE COMMANDED to execute this warrant and seize the property on or before ‘

(not to exceed 14 days)

Q) in daytime - 6:00 a.m. to 10:00 p.m. 1 at any time in the day or night because good cause has been
established.

Unless delayed notice is authorized below, you must also give a copy of the warrant and receipt for the
property taken to the person from whom, or from whose premises, the property was taken, or leave the copy
and receipt at the place where the property was taken.

An officer present during the execution of the warrant must prepare, as required by law, an inventory
of any property seized and the officer executing the warrant must promptly return this warrant and a copy of
the inventory to any United States Judge on criminal duty in Arizona.

NV YA Q) Pursuant to 18 U.S.C. § 3103a(b), I find that immediate notification may have an adverse result listed
in 18 U.S.C. § 2705 (except for delay of trial), and authorize the officer executing this warrant to delay notice
to the person who, or whose property, will be search or seized (check the appropriate box)

Q for __ days (not to exceed 30). Q until the facts justifying, the later specific date of

Ka L S21
Date and time issued: 4/2 —/S- 26 2¢ CSO TVA.

Judge ’s signature

City and State: _Phoenix, AZ Honorable Michelle H. Burns, U.S. Magistrate Judge
Printed name and title

 
